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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

 GUSTIN C. BROWNLEE,

            Plaintiff,

            v.                                            Case No. 20-3122-JAR-GEB

 EYMAN DOWLING,
 et al.,
         Defendants.


                                            ORDER

       Plaintiff Gustin Brownlee brings this suit alleging claims against three defendants:

Eyman Dowling, Brett Corby, and Alex McCollough, each alleged to have worked as a security

officer at the El Dorado Correctional Facility. On October 24, 2022, the Kansas Department of

Corrections (“KDOC”) filed a Waiver of Service of Summons Executed (Doc. 35) for

Defendants Corby and McCollough. Because this Court has not received a waiver of service

executed for Defendant Dowling, the KDOC shall have ten (10) days from the filing of this

Order to supply the Clerk of Court with the last known forwarding address for Defendant

Dowling, said address to be placed under seal and used only for the purpose of attempting to

effect service of process. The KDOC shall use the event “SEALED Notice of Last Known

Address of KDOC Employees” to submit the sealed address to the Court.

       IT IS SO ORDERED.

       Dated: August 1, 2023
                                                 S/ Julie A. Robinson
                                                 JULIE A. ROBINSON
                                                 UNITED STATES DISTRICT JUDGE
